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                EXHIBIT B
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                                                                   Public Health Service


                                                                                       Food and Drug Administration

'~                                                                                     College Park, MD 20740

                                                              AUG 28 2013
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             Re:    Docket No. FDA 2007- P-01 22 and 2006-P-033 8 (Prev iously
                                                                               2006-P-0394 and
                    2007- P-0235)


     Dear Ms. Me ier, Ms. Leahy , Ms. Bock, and Ms. Share:

    This letter is in response to your citize n petition. dated Septe
                                                                       mber 2 1. 20 10, which
    "supplant[ed]" your prev ious petitions, reque sting the Food and
                                                                           Drug Administration (FDA ) to
    revise the curren t labeli ng req uirements for shell eggs sold in
                                                                        the United States. SpecificaJi y,
    your 20 I 0 peti tion reque sts that FDA requi re, via regulation,
                                                                       shell eggs to bear one of three
    labels: ''Free-Rang e Eggs,'' "Cage-Free Eggs,'' or ·•Eggs from
                                                                         Caged Hens."' Furthe r, you
    provide descriptio ns of produ ction conditions tbat would be assoc
                                                                            iated with each term. Finall y.
    you provid e definiti ons of the terms ·'egg," "cage," ·'barn,'· and
                                                                          "labe l" fo r FDA to adopt via
    regulation.

    Yo u conte nd that curren t labeling of shell eggs " fails to reveal
                                                                         to consumers certai n material
    facts that substantially influe nce the ir purch asing decisions"
                                                                      (Pet. at 2).




                                                                                                  FDA 007504
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You further contend that info rmation regarding how eggs are produced is a material fact because:
(I) consumers ··would be willing to pay more for eggs they believe to have been produced in a
humane manner.. ; (2) ·'eggs from caged hens are nutritio nally inferior to [eggs] from pastured
free-range birds" ; and (3) ·'eggs from [caged hens] have an increased risk of being contaminated
with [Salmone ll a Enteritidi s]" (Pet. at 4, 28, 57).

       DECISION SUMMARY

After careful review of your c itizen petition and for the reasons described below, FDA is den ying
your citi zen petition in accordance with 21 Code of Federal Regulations (CFR) I 0.30(e)(3)
because you do not provide a sufficient basis for the agency to revise the current labeling
requirements for sheJI eggs. Specificall y, you have not provided evidence sufficient to show
that eggs from caged hens are ''nutritionally infe rior" to eggs from free-range and cage-free hens.
Therefore, nutritional properties cannot provide a basis to consider the method of production for
eggs to be a material fact. Moreover, nutritional information regarding particular eggs is
conveyed to consumers directly by placing the particular nutrient information on the label, not by
identi fy ing the method of production, which does not provide consumers with information as to
nutritive content. Second , you have not provided sufficient evidence to show that eggs from
caged hens have a greater risk of Salmonella contaminati on than eggs from the other two
production methods you define; consequently. the risk of Salmone lla cannot provide a basis to
consider the method of production for eggs to be a material fact. Fina ll y. even assum ing the
method of egg production may be of interest to some consumers, consumer interest a lone is not a
material fact. Therefore, FDA is not compelled under the Federal Food, Drug. and Cosmetic Act
(.. the Act") or its implementing regulations to require labeling of egg production methods nor
could the agency require such labeli ng under the law. Finally. even if the agency could require
such labeling, it would choose to use its limited resources on rulemakings of hi gher priority. such
as those that are of greatest pub lic health significance o r are statutoril y-mandated.

I.      RELEVANT LEGAL AND REGULATORY BACKGROUND

A.      MATERJALlTY

1.      Scope

Under section 403(a)(1) of the Act, (2 1 U.S.C. 343(a)( l )), a food is misbranded if its labeling is
false o r misleading in any particular. Both the presence and absence of information on labeling
can be misleading. Regarding absence of in formation. labeling is misleading if it fails to reveal
facts that are material in light of representations made or suggested in the labeling. or material
with respect to consequences that may result from the use of the food to wh ich the labeling
relates under the conditions of use prescribed in the labeling, o r under such conditions ofuse as
are customary o r usual (2 1 U.S.C. 321 (n)). The agency has interpreted the scope of ''materi ality"
to mean information about the attributes of the food itself. FDA has required special labeling o n
the basis of it being '·material'' infom1ation in cases where the absence of such information may:
( 1) pose special health or environmental ri sks (e.g., warning statements on protein products used
 in very low calorie diets); (2) mislead the consumer in light of other statements made on the labe l
(e.g., requirement for quanti tati ve nutrient information when certa in nutrient content claims are

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made); or (3) in cases where a consumer may assume that a food, because of its similarity to
another food, has nutritional, organoleptic, or functional characteristics of the food it resembles,
when in fact it does not (e.g., reduced fat margarine that is not suitable for frying).

2.     Consumer lnteresl

Your petition is not the first time that someone has asserted that consumer interest is the test for
materiality. In Stauber v. Shalala. 895 F. Supp. 1178 (W.O. Wis. 1995). plaintiffs challenged
FDA's approval of Posilac (rbST), a genetically engineered animal drug approved fo r use in
dairy cows to enhance milk production . As part of that challenge, plaintiffs alleged that FDA
was required to mandate labeling of products from cows treated with the drug. Id. at 1193. The
court noted that FDA received thousands of letters from consumers asking FDA to deny approval
of rbST or to require labeling of rbST products. Td. at 1183.

Plaintiffs argued that food products from rbST-treated cows must be labeled as such to comply
with 21 U.S.C. 343(a)(l) and 32l(n). khat 1193. Specifically, plaintiffs argued that widespread
consumer desire for mandatory labeling was a '·material fact'' requiring labeling. kh However,
in its response to this assertion regarding consumer desire, the court affirmed FDA's long-
standing interpretation regarding materiality and stated:

        Regarding widespread consumer demand, plaintiffs are incorrect in their assertion that by
        itself consumer opinion could suffice to require labeling.... In the absence of evidence
        of a material difference between rbST-derived milk and ordinary milk, the use of
        consumer demand as the rationale for labeling would violate the [Act].

ld. at 1193.

Five years later, a court upheld another FDA decision not to mandate, on the basis of consumer
interest, labeling for a production method. In Alliance for Bio-Integrity v. Shalala (ABI).
plaintiffs challenged FDA ·s policy not to consider rONA modification to be a ·'material fact" and
therefore not to require labeling of rONA-produced foods. 116 F. Supp. 2d 166, 170 (D.D. C.
2000). Plaintiffs claimed that FDA should have considered the widespread consumer interest in
having genetically engineered foods labeled, as well as the special concerns of religious groups
and persons with allergies. ld. at 178. The court rejected plaintiffs' argument that consumer
demand was a material fact under 21 U.S.C. 321 (n):

        More specifically irksome to the plaintiffs, the FDA does not read§ 32l(n) to
        authorize labeling requ irements solely because of consumer demand. The FDA's
        exclusion of consumer interest from the factors which detennine whether a
        change is "material" constitutes a reasonable interpretation of the statute.
        Moreover, it is doubtful whether the FDA would even have the power under the
        FDCA to require labeling in a situation where the sole justi'fication for such a
        requirement is consumer demand.

         Plaintiffs fail to understand the limitation on the FDA ·s power to consider
         consumer demand when making labeling decisions because they fail to recognjze

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           that the determination that a product differs materially from the type of product it
           purports to be is a factual predicate to the requirement of labeling. Only once
           materiality has been establi shed may the FDA consider consumer opinion to
           determine whether a labe l is required to disclose a material fact.

lll at179. The court also rejected plaintiffs' argument that the process of a genetic modificatio n
is a materia l fact because the Act does not require disclosure of how a food is prod uced witho ut
regard to its effect on the product:

           Disclosw-e of the conditions or methods of manufacture has long been deemed
           unnecessary under the law. The Supreme Cow-t reasoned, "[w] hen considered
           independently of the product, the method of manufacture is not material. The act
           requires no disclosure concerning it." U.S. v. N inety-Five Barre ls (More or Less)
           Alleged Apple Cider Vinegar, 265 U.S. 438, 445 ( 1924).

lll at   179 n.l 0.

B.         EXISTING REGULAT IONS GERMAN E TO THIS PETITION


1.         Egg Safety Regulations

On July 9, 2009, FDA issued a final regulation to address egg safety titled ·'Prevention of
Salmone lla Enteritidis in She ll Eggs During Production, Storage, and T ransportation" (74 FR
33030). Since July 9. 20 12, egg producers with 3,000 o r more laying hens have been required to
comply with the rule's comprehen sive requiremen ts (74 FRat 33034). The shell      egg regulation
                                                                               1
applies to all types of egg production (e.g., caged, cage-free, and free range) and is expected to
prevent each year approxima tely 79,000 cases of food borne illness and 30 deaths from
consumptio n of eggs contaminated with Salmonella Enteritid is (SE).

The shell egg rule requires egg producers to implement measures to prevent SE from
contaminat ing eggs on the farm and during storage and transportati on (2 1 CFR Part 118). lt
requires egg producers to have and implement SE Prevention Plans with measures to address
pullets, biosecurity , pest control, refrigeration, and cleaning and disinfection (21 CFR 118.4) lt
also contains comprehen sive testing requirements, including mandatory environme ntal testing of
every poultry house for SE (21 CFR 118.5). Further, if an egg tests positive for SE, all eggs
from that house must be diverted from the table egg market to a treatment that will destroy any
SE that may be present until four subsequent tests of eggs from the ho use are negative fo r SE (21
CFR 118.6). Producers must register with FDA and maintain records to document their
com pi iance with the rule (21 CFR 118.10. II ).


 1
     See, e.g., Draft Guidance for Industry: Questions and Answers Regarding the Final Rule, Prevention of Salmonella
 Enteritidis in Shell Eggs During Production, Storage, and Transportation (Layers with Outdoor Access) (providing
 guidance to egg producers on certain provisions in the egg rule concerning the management of production systems
 that provide laying hens with access to the outdoors), available at
 http://www. fda.gov/Food/G uidanceRegulation/G uidanceDocuments Regu latoryl nformat ion/Eggs/ucrn360028.

                                                                                                      FDA 007507
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Additional requirements apply to shell eggs at the retail level. Shell eggs must be promptl y
placed under refrigeration upon receipt at a retail establishment and must be stored and displayed
under refrigeration at an ambient temperature not greater than 7.2 °C (45 °[-') (2 1 CFR 101.50).
In addition, shell egg cartons are required to be labeled with the following safe handling
instructions to prevent illness from the growth of SE (21 CFR 10 1.17(h)):

        SAFE HANDLI NG INSTRUCTIONS: To prevent illness from bacteria: keep
        eggs refri gerated. cook eggs until yolks are firm, and cook foods containing eggs
        thoroughl y.

2.      Nutrition Labeling Regulations

The Act and its implementing regulations require packaged shell eggs to be labeled with the
same information that is required on other FDA-regulated packaged foods. The Nutrition Facts
label must include certain nutrition information, such as the amount of saturated fat, cholesterol,
and vitamin A (2 1 CFR I0 1.9(c)(2)(i), (c)(3), and (c)(8)(ii)). Other nutrition information is not
required but may be provided on the Nutrition Facts label, including the amount of vitamin B 12,
vitamin E, and fo lic acid (2 1 CFR 10l.9(c)(8)(ii)(B)). The amount of omega-3 fatty acids may
                                                                        2
be provided outside the Nutrition Facts label (2 1 CFR 101.1 3(i)(3)). The egg packager is
responsible fo r ensuring that the nutrition information provided on the label accurately reflects
the nutritional profile of the food. If the label does not include the mandated information, or any
of the information provided is false or mi sleading, the product is subject to enforcement action
(See, e.g.• 21 U.S.C. 343(a), 33 l(a)-(c), (k), and 334(a), (h)).

11.     ANALYSIS

A.      PRODUCTION METHOD AND NUTRITIONAL PROPERTI ES OF EGGS

/.      Evaluation of Information Submilled

Jn your petition you assert that ·'[r]ecent studies demonstrate the nutritional inferiority of cage-
produced eggs to pastured free-range eggs" (Pet. at 25). We have carefull y reviewed these
studies. and we find them insufficient to support a categorical determination regarding the
relative nutritional properties of eggs based solely on the method of prod uction.
                                              3                                               5
 one of the references cited (Gorski, 2000 ; Long and Alterman, 2007-t; Tolan et al.. 1974 ;
                                                 7                    8
Karsten et al.. 20 106; Lopez-Bote et al. , 1998. : Sir11opoulos, 2001 ) was designed in a way that

2 See Guidance for Industry: A Food Labeling Guide (8. C laims) Question and Answers N2 1 and N22.
3 Gorski, B. 2000. Nutritional Analysis of Pastured Poultry Products. APPPA G RIT (A merican Pastured Poult1y
Producers Associarion). Winter 2000. Issue I I. Page 1-3 (Pet. Ex. 64).
4
  Long, C. and T. Alterman, 2007. Meet real free-range eggs. Mother Earth News
http:/ www.motherearthnew;;;.com real-fooditests-rcveal-heahhier-eggs.aspx#a;...zz.,W2Jo r~ (Pet. Ex. 56).
5 Tolan, A, J. Robertson and C. R. Orton. 1974. The chemical composition of eggs produced under battery, deep

litter and free range conditions. Br J Nurr. 31: 185-200 (Pet. Ex. 61 ).
6 Karsten, H.O .. P.H. Patterson. R. Stout, and G. Crews. 20 10. Vitamins A. E and fatty acid composition of the

eggs of caged hens and pastured hens. Renewable Agriculture and Food Systems. 25( I ):45-54 (Pet. Ex. 63).


                                                                                                     FDA 007508
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would demonstrate the nutritio nal inferiority of cage-produced eggs to pastured free-range eggs.
A well-designed study seeking to determ ine whether there is a nutritionaJ difference based on
production method alone would need to control for all other variables. None of the studies
submi tted with the petition did this comparison (i.e., compared caged hens with free-range hens
fed the same food).

The Gorski (2000) report is not a true comparati ve study with appropriate controls but rather a
comparison to a US DA egg nutrient database. Four free-range operations submitted egg samples
to a commercial laboratory for nutritional analysis and based their reported findings o n a
comparison to the USDA database. The report found that the free-range eggs had hi gher levels
of vitamin A and a "better" ratio of omega-6 to omega-3 fatty acids. The report provides no
specific detail s about the age, breed, diet, or environmenta l conditions oftbe hens from which
the US DA compiled the database. It is quite likely that all those factors differed significantly
from the conditions for each of the four free-range farms in the study. Diet, in additio n to severa l
other factors. inc luding age, breed, strain, and env iro nmental conditions, plays a key role in
                                                                            9
determining the nutrient content of eggs (Stadelman and Cotterill. 1995 ; Bell and Weaver,
200i 0) . Because there were no specific details on how the database was establi shed and because
there was no statistical evaluation of the data, the report cannot support broad conclusions
regarding any apparent differences in the eggs. Further confounding the study, the free-range
hens producing eggs were supplemented with several sources of omega-3: fish meal, seaweed.
and flax seed; it is therefore not surprising that they would produce eggs with elevated levels of
omega-3 fatty acids. A simil ar result would be expected for caged hens if thei r diet was simil arly
supplemented.

Similar to the Gorski (2000) report the Long and Alterman (2007) article compared eggs to a
USDA egg nutrient database. The article compared six eggs from e ither free-range or " moveable
pens" production systems from fo urteen farms to the USDA database. The study repo rted
finding lower cholesterol and saturated fat along with elevated levels of vitamin A and E, omega-
3 fatty acids, and carotene in the free-range and moveable pens-produce d eggs. Like the Gorksi
report, the Long and Alterman study also Jacks an appropriate contro l group. wh ich makes it
impossible to draw conclusive results. Further, given the Jack of specific detail s on the data
inc luded in the US DA database (e.g., age, breed, di et), any compari sons are of very limited
value.

The work of Simopoulos (200 I) also involved comparison to the USDA database and thus is
subject to the same limitations as Gorksi (2000) and Long and Alterman (2007) (i.e. , no
appropriate control, lack of information regarding conditions of egg production for eggs in the

7
  Lopez-Bote. C.J., R.S. Arias. A. l. Rey, A. Castano, B. Isabel, and J. Thos, 1998. Effect of tree-range feeding on n-
3 fatty acid and a-tocopherol content and oxidative stability of eggs. Animal Feed Science Technology. 72:33-40
(Pet. Ex.65).
8 Simopoulos, A.P., 200 1. The Mediterranean Diets: What is so special about the diet of Greece? The scientific

evidence. Journal of Nwrition( 13 1) 3065S-3073S (Pet. Ex. 62).
9
  Stadelman, W.J. and O.J. Conerill. 1995. Egg Science and Technology, 4th Ed. Food Products Press. The
Haworth Press, Inc, New York-London. Pp. 177- 194.
10
    Bell, D. D., and W.O. Weaver Jr., 2002. Commercial Chicken Meat and Egg Production, 5th Ed. Springer. Pp.
 I 116 and 1124.

                                                                                                       FDA 007509
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database). In addition, the free-range pastured hens whose eggs were compared to the USDA
database ate a diet of"grass, purslane [a wi ld plant], insects, worms, and dried figs, aU good
sources of [omega-3] fatty acids." Given the role of diet, it is therefore not surprising that they
would produce eggs with elevated levels of omega-3 fatty acids.

The Tolan et al. (1974) study compared the nutrient content of eggs produced in battery (cages),
deep litter (on the floor in pens), and free-range (free access to grass) production systems. The
production systems utilized varying management systems, diets, and hens. The study found that
free-range eggs had more vitamin B 12 and folic acid compared to cage-produce d eggs, but the
study has some significant limitations, which the authors acknowledge. One key limitation of
the study was the origin of egg samples s ubmitted for analysis: eggs were collected from
research farms in various locations, and hens producing them were of different breeds and fed
different diets. These two factors affect egg composition; therefore, differences in vitamin B 12
and folic acid could be attributed to these factors (i.e., breed and diet) and not necessarily to the
type of production system from which they originated. Given that hens in this study were of
different breeds and ages and consumed differing diets, the authors clearly indicate that
differences in nutrient composition were more likely a result of which research farm raised the
hen than the production system used by that farm (caged vs. cage-free).

The Karsten et al. (2010) study examined how moving free range hens between various pastures
with different vegetation influenced omega-3 fatty acid, vitamin A, and vitamin E
concentration s, and compared eggs from free-range systems to caged hens on a commercial diet.
Although levels of vitamin E and total omega-3 fatty acids in eggs from free-range hens were
elevated in this study, these differences could be attributed to the diet, not the production system
(caged vs. free-range). Hens fed on pasture within the experiment were rotated through three
different types of pastures, including grass, alfalfa and clover, while the caged hens remained on
the same diet the entire study. Given the influence that diet has on egg composition, the pastured
free-range hens' variation in diet could be responsible for the observed nutrient differences.

Finally, the Lopez-Bote et al. ( 1998) study compared the fatty acid and vitamin E content, as
well as susceptibility to oxidation, of egg yolks from :fi·ee-range and caged hens on a commercial
diet. This study closely mirrors the Karsten et aJ. (2010) study in that levels of vitamin E and
omega-3 fatty acids were found to be significantly different in cage-free and cage-produce d eggs.
The study design had two vari ables: housing type (caged vs. free range) and diet (commercial
diet for caged hens vs. pasture vegetation with commercial diet supplementati on for free-range
hens). This design did not allow for determination of which of these two variables lead to the
differences in vitamin E and omega-3 fatty acid concentration . Therefore, it is incorrect to
implicate cages (i.e .. housing type) as the defining facto r resulting in the differences that were
observed because diet could be responsible for the differences.

2.      The Info rmation Submitted Does Not Support the Proposed Labeling Requirements

The information you provide is insufficient to establish a nutritional difference in egg
composition between caged hens and free-range hens that would warrant the required labeling
you propose in your Petition for three reasons. First, as explained in detail above, the studies you
provide contain other variables such as feed. season, age. and breed, which could account for any


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nutriti onal differences between eggs from pastured free-range hens and eggs from caged hens.
These studies have limitations-the ir failu re to control for other variables-which make it
impossible to determine whether any of the observed differences can be attributed to the
production environment.

Second, the studies you provide cannot support your proposed definitions because the studies
either fail to provide enough information to determine whether the eggs in the studies were
produced in the same conditions described in your proposed definitions. or the studies consider
                                                                                 11
egg production conditions that are notably different than the o nes you propose. For example,
your definition of"free-range eggs'· does not require that hens be rotated among three pasture
treatments as they were in Karsten (20 10), does not require that hens ''wander on farms. eat
grass, purslane, insects, worms, and dried fi gs" as they did in SimopouJos (200 I), and does not
include hens that are housed in moveable pens, as some hens were in Long and Alterman (2007).
There is not enough information to determine whether the production conditions in Gorski
(2000) and Tolan ( 1974) for free-range pastured hens are the same as the conditions in your
proposed defmition of .. free-range eggs.' Also, your definition of ..cage-free eggs" does not
require access to pasture, unlike the egg production conditions in Gorski (2000), Karsten (20 I 0),
Lopez-Bote ( 1998), Tolan (1974), Simopoulos (200 1), and some of the condi tions in Long &
Alterman (2007). Because the studies reflect conditions that are not the same as the ones you
propose fo r ·'cage free" and ·'free-range," they cannot suppo rt your proposal.

Third, the nutritional properties you reference are themselves already either required or allowed
to be provided on the label under existing FDA regulations. Therefore. to the extent that a
material fact is implicated. the labeling for these nutritional di fferences is already regulated by
the Act and its implementing regulations. Further, it is these nutrient characteristics- and not
the method of production- that would convey the nutritional info rmation to consumers. A label
of'·free-range eggs," ·'cage-free eggs," or ·'eggs from caged hens" would not inform consumers
about the specific levels of nutrients in those eggs; that information is only conveyed by
                                                                                                 12
providing the specific levels of nutrients in each egg. This information is al ready required
                                                                13
(e.g., saturated fat cholesterol, and vitamin A) or permitted (e.g.. vitamin B 12, vitamin E, fo lic
acid, and omega-3 fatty acids) on the label. If the required information is not provided or any of
the info rmation is false o r misleading, the product is (already) subject to enforcement action.
See, e.g., 21 U.S.C. 343(a), 33 1-334; See also infra section II. F.

B.       PRODUCTION METHOD AN D SALMONELLA PREVALENCE IN EGGS

I.       Evaluation ofInformation Submilled

You assert that there is a connection between the production of eggs from caged hens and the
risk of Salmonella contamination (Pet. at 57). We have carefull y reviewed the studies you
provide, and we find them insufficient to establish that, based on production method alone (i.e ..
free -range, cage-free, and caged), a conclusion about the relati ve risk of Salmonella in particular
11
   We note that you acknowledge that " not a ll eggs that qualify as 'free range' are rhe pastured eggs that were the
subject of these studies ... :· ( Pet. at 28).
12
   21 CFR 101.9(c)(2)(i). (c)(J), and (c)(8)(ii).
13
   21 CFR 101.9(c)(8)(ii)(B); 2 1 CFR 101.13(i)(3).


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eggs can be made. ln fact, most of the studies you reference (Van Hoorebeke et al., 201 0 ;
               15                   16
Dewulf, 2010 ; Holt et al.. 2011 ) conclude that there was no difference between the two
production methods, that a move to cage-free system should not increase Salmonella prevalence.
or that insufficient data exist to deem one system superior with respect to Sa lmonella risk. Also,
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some of the data within the references (Holt et al. , 20 11 ; Huneau-Salaun et al.. 2009 : Dewulf,
2010; Van Hoorebeke et al. , 20 10) indicate that in some situati ons cage-free systems can lead to
a higher incidence of Salmonella-positiv e environments (presence of Salmonella where the hens
                                                   18
are). Further, in two of the studies (EFSA, 2007 ; Huneau- Salaun et al., 2009) caged and cage-
free environments are sampled using different schemes that have different sensiti vities for
detecting Salmonella in the environment.

In addition, you assert that caged production systems generally are mo re susceptible to
Salmonella contamination because of the presence of manure pits (Pet. at 62). Although caged
systems with manure pits (often referred to as high-rise houses) are common, not all caged
operations have pits. Moreover. some caged operations, s uch as manure belted operations, are
specifically designed to e liminate manure from the production environment on a near continuo us
basis. Considered together, the references you provide are insufficient to support your view that
"caged hens a re producing eggs at significantly higher risk of disease'· (Pet. at 64). Each
reference is discussed below.

The EFSA (2007) study was a European Unio n-wide baseline study aimed at determirung the
prevalence of Salmonella in commercial farms in Europe with at least 1.000 hens. The study has
a number of limitations. The experimental design does not allow one to determine whether the
true risk factor was the use of cages or the size of flocks. As the authors state, ·'it was not
possible to determine which of these two factors was a true risk factor for positi vi ty." Large
flock size is implicated as a risk factor in other studies you reference (Dewulf, 20 10; Huneau-
Salaun et al., 2009; Holt et al., 20 II). In addition, the production systems were sampled
differently. Caged flocks were sampled by collecting pooled fecal samples (hand collected)
while cage-free flocks were sampled with boot swabs (spec ial shoe covers). The sampling
schemes used differ in their sensitivity. Finally, there were contradictory data within the study in
that the prevalence of Salmonella in bam and organic flocks was higher than caged flocks in
some circumstances.




14
   Van Hoorebeke et al. 20 10. Determination ofthe within and between flock prevalence and identification of risk
factors for Salmonella infections in laying hen flocks housed in conventiona l and alternative systems. Prev Vet
Med(94 ): 94-100 (Pet. Ex. 93 ).
15
   Dewulf, J. 2010. Salmonella thrives in cage housing. World PoulfiJ' Net
http://www. worldpoultry.net/Bree ders/General/20 I 0/5/Salmone lla-thrives-in-cage-housing- WP007481 W/. Accessed
May 16, 20 13 (Pet. Ex. 90).
16
   Hoh, et al.. 20 I 0. The impact of different housing systems on egg safety and quality. PoulfiJ' Science. In press
(Pet. Ex. 96).
17
   Huneau-SalaUn. et al., 2009. Risk factors for Salmonella enterica subsp. Enterica contamination in 5 19 French
laying hen flocks at the end of the laying period. Prev Vet Med (89): 51-58 (Pet. Ex. 94).
18
   EFSA. 2007. Report of the Task Force on Zoonoses Data Collection on the Analysis of the baseline study on the
prevalence of Salmonella in holdings of laying hen flocks of Gallus gallus. EFSA Journal (97): 1-84 (Per. Ex. 97).


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The Van Hoorebeke et al. (20 10) study was designed to determine the between and within flock
prevalence of hens shedding Salmone lla, to identify Salmonella risk facto rs, and to eval uate the
effect of ho using type on Salmonella prevalence. Thi s study has a number of limitations . The
caged systems sampled were o lder than the cage-free systems included in the study. Salmonella
                                                                                          19
can survive in the environme nt for extended periods oftime (Davies and Wray, 1996 ; Davies
and Breslin, 2003 ); as a consequen ce, as bu ilding infrastructu re ages the popu lation of
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Salmone lla at that location builds creating an "envi ronment load" or resident popul ation of
  almonella that is difficult to eliminate completely. Thus building age should always be
considered a factor when considering the effect of a certain building type on the microbiological
population of eggs. The authors specifica lly state: "The effect of the age of the infrastructure
may be explained by the fac t that the older the infrastructure, the more difficult it gets to achieve
sufficient standards of cleaning due to the wear of the material, both of the production system
and of the building itself, especially when it is taken into account that the level of environme  ntal
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contaminat ion increases significant ly during a production cycle." (Wales et al.. 2007 ). The
authors concede that ''[i]n this study the age of conventional battery cages was significantl y
higher than that of the floor-raised, free-range and organic systems: · Thus, the differing ages of
the house types compared could have affected findings related to the prevalence of Salmonella.
 Further, the authors acknowled ge that transmissio n of Salmonella fro m ingestion of
contami nated feces (oral-fecal route) is higher in cage-free systems. The paper notes that in
Switzerland bacterial infections in chicks and layi ng hens increased after cages were banned.

The Dewulf (20 10) report was not a study but rather a discussion of multiple studies. The report
foc used on identifying and expla ining multiple factors that could affect the prevalence of
Salmonella on egg laying farms, including housing system, flock size, stress factors, building
age, rodent populations, and vaccination s. The article references multiple stud ies that have
yielded variable results. In some cases cited in the report, caged systems had a decreased
Salmonella risk, in some there were no differences, and in some caged systems had a higher
Salmonella risk.

Dewulf states that multiple factors are to be considered and that use of cages in the production
environme nt may not be the so le, or even primary, ri sk factor for increased Salmonella
prevalence. Specifically the author states:

         This does not necessarily mean that there is a causal relationship between the housing
         type and infection. On the contrary, it is more likely that the effect attributed to the
         housing system is in reality influenced by several other production characteris tics, such
         as magnitude of the fl ock or herd . age of the building, probability of previous Salmonella
         infections on the farm, etc.



 19
    Davies. R., and C. Wray. 1996. Persistence of Salmonella enteritidis in poultry units and poultry food. Br Poullfy
 Science. 37{3):589-596.
 20
    Davies, R. H. and M. Breslin, 2003. Persistence of Salmonella Enteritidis phage type 4 in the environment and
 arthropod vectors on an empty free-range chicken farm. Environ. Microbiol. 5:79-84.
 11
    Wales, A., M. Breslin, B. Carter, R. Sayers. and R. Davies, 2007. A longitudinal study of environmental
 Salmonella contamination in caged and free-range layer flocks. Avian PathoiOg)l. 36(3): 187-1 97.

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The Huneau-Salatin et al. (2009) study sought to identify ri sk facto rs for Salmonella
contam ination in French laying hens at the end of their laying cycle. The study involved
conducting a survey to identify potential risk factors and sampling certain farms to establish the
prevalence of Salmonella. This study has a number of limitatio ns. Different sampling schemes
were used for each production system. Similar to the EFSA study, caged environments were
assessed by pooled (hand collected) fecal samples while cage-free environments were sampled
with boot swabs. The author acknowledges that the differences observed could be related to the
higher sensitivity offecal sampling: "The odds of a Salmonella infect ion were significantly
higher in caged flocks than in on-floor flocks. This might be re lated to the higher sensitivity of
pooled feces samples taken in cage poultry-houses than that of boot swabs taken from on-floor
flocks: ' The study also contains some contradictory data. Resu lts indicate that on-floor (i.e ..
cage-free) systems had a substantially higher prevalence ofSE with 43% of cage-free systems
being positive for SEas compared to 14.3% caged systems being positive for SE. Also, the
caged operations sampled were larger than cage-free operations. As explained regarding the
EFSA 2007 study, flock size has been implicated as a risk factor for Salmonella co ntaminati o n ~ it
is therefore impossible to determine whether differences observed were a result of the type of
production system or the size of the flock tested.

ln the Holt et al. (20 10) paper. the authors conducted a detailed review of the literature on the
effect of housing type on egg safety. The authors conclude that research on this topic is limited,
what exists was mostly conducted in Europe, and that more stud ies are necessary. Specifically,
Holt et al. (20 I 0) state: .. Much of the most recent information on this topic result[s] from studies
conducted in the EU and this information must then be applied to conditions found in the US
industry. Although many si milarities do exist, the EU and US egg industries di ffer sufficiently
to make such extrapo lations difficult and new stud ies geared more to egg production in the
United States are warranted." Holt et al. also state that "[t]here is no general consensus
demonstrating the superiority of one housing situation over another regarding food safety and
egg quality." Specific reference is made to studies by others that have found varying results; in
some studies caged production systems resulted in a higher incidence of Salmonella positive
environments while the opposite was true in other studies.

Your petition argues on p. 63 that "a study conducted by the American Journal of Epidemiology,
concluded that people who ate eggs from caged hens had almost double the probability of
contracting Salmonella food poisoning compared to those who did not eat eggs from hens
confined in cages.'· This study was not designed to evaluate the risk associated with different
types of production systems but rather to confirm that consumption of raw eggs is a risk factor
for SE illness. We note that within the study both battery cage and free range production
systems were associated with risk. Specifically, M0 lback and Neimann state: ''ln the present
study, 257 case patients and 41 2 controls had used eggs in household meals, and among these
individuals we found that illness was associated with eggs from battery, deep li tter, and free-
range production, whereas we were unable to demonstrate an association with organic eggs or
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eggs so ld at barnyards'' .


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  M01bak and Neiman, Risk Factors for Sporadic Infection with Salmonella Enteridis, (2002). American Journal of
 Epidemiology. 156(7):654-661. (Pet. Footnote 237).


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2.      The Information Submilled Does not Support the Proposed Labeling Requirements

You also reference a '·massive August 20 10 egg recall caused by an SE outbreak from caged
production facilities" (Pet. at 57). You assert that because of a --connection between SE risk and
cage production" and the August 2010 egg recall , mandatory disclosure of production method is
necessary for consumers '·to mitigate their health risk"' (Pet. at 57-58). As explained above, you
have not established a causal link between Salmonella risk and the method of egg production. In
addition, the August 20 I 0 egg recall, extensively referenced in your petition as a reason to
require label ing of egg production method (Pet. at 58-62), is not informative regarding the
relative risk of egg production systems. Given the high percentage of eggs produced by caged
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hens re lative to other production methods, it would be expected that a particular recall would
be associated with cage-produce d eggs.

In addition, the 20 I 0 outbreak you cite stemmed from conditions that occurred before egg
producers were subject to FDA's sheJI egg regulation. Egg producers are now required to
implement extensive measures to prevent SE from contaminating eggs (21 CFR Part 118). See
also supra section LB. I . FDA mandates that egg producers have and implement SE Prevention
Pl ans with measures to address pullets, biosecurity, pest control. refrigeration. and cleaning and
disinfection (2 1 CFR 1 18.4). Egg producers are subject to comprehensive testing requirements.
including mandatory environmenta l testi ng of every poultry house fo r SE, and testing of eggs if
the environment tests positive (2 1 CFR 118.5, 118.6). Further, if an egg tests positive for SE. all
eggs from that house must be treated to destroy any SE that may be present unless subsequent
test results support a retum to the table egg market (21 CFR 118.6).

Your petition does not show that mandating that eggs be labeled with the method of production
would provide consumers with meaningful information regarding the relative ri sk of Salmonella.
Further, because there is no demonstrated link between Salmonella prevalence and the method of
production, the production method for eggs cannot be a material fac t on this basis.

C.      PRODUCTION METHOD AND CONSUMER INTEREST

 I.     Evaluation of Information Submilled

To support your argument that the current labeling of shell eggs fails to reveal to consumers
certajn informat ion that substantially influences their purchasing decisions. you subrrut exhibits
containing the resul ts of several consumer surveys (Pet. at 2). You assert that U.S. consumers
'·are wi lling to pay substantially more for eggs represented to them as produced under standards
that ensure some degree of animal welfare" (Pet. at 3). Based on ou r review of the24exhibits
submitted with the petition, we conclude that some of your exhibits (Zogby. 2000 ; Animal

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   According to your petition, over 95% of eggs come from caged hens (Pet. at 3).
1
 ~ Report from Gene Bauston, Farm Sanctuary to Rebecca Winman. Zogby International on a telephone survey of
 1.204 U.S. adults conducted by Zogby International September 15-18. 2000 (Pet. Ex. 5).

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Welfare Institute, undated ; Zogby, 2007 ; Lusk, Norwood, and Prickett, 2007 ) indicate that
there are some U.S. consumers with concerns about animal welfare who may desire products
labeled as protective of animal welfare. Whi le the agency" s position is that consumer interest
alone is not a material fact; nevertheless, even if it was, these studi es do not provide sufficient
information to conclude that there is a widespread or strong desire or demand among the U.S.
population for the type of mandatory labeling requirements proposed in the petition. Three
limitations of the exhibits are explained below.

Inappropriate wording: of questions: Some of the wording used in the surveys, e.g., "crowdi.ng,"
··cannot stretch their wings," '·starving" (Zogby, 2000), "forced" (Zogby, 2007) is ''loaded" or
inflammatory within the context of the question and prone to cause more extreme responses that
bias toward the emotions created by the wording. Loaded words or questions present respondents
with only one dimension of an issue and can cause respondents to answer according to presented
                           28
dimensions (Litwak, 1956 ).

In addition. the wording of the questions tends to create social desirability bias, where responses
do not necessarily represent respondents' true opinions because respondents want to create a
favorable impression, such as appearing to be more compassionate (Holbrook, Green and
                29
Krosnick, 2003 ). Research has shown that telephone surveys, such as the ones submitted as
exhibits to the petition (Zogby. 2000; Zogby, 2007; Lusk, Norwood, and Prickett. 2007). are
among the types of surveys that are more vulnerable to social desirability bias (Holbrook, Green.
and Krosnick, 2003).

Lack of methodological details and limited applicability of findings: Some studies (World
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Society for the Protection of Animals, 2009; The Humane Touch, 2007 ) did not provide any
information on important details of the survey methodology, e.g., sample universe and selection
method for respondents. Without such information, it is impossible to assess the degree to which
the findings can be applied at a national level. In addition. some surveys (Lusk, Norwood, and
Prickett, 2007;[Rauch and Sharp, 2004; Conner. et al., 2005; University of California, Santa
                                      31
Cruz. 2005; Rauch and Sharp, 2005] ) were conducted on only certain U.S. population
segments such as Ohio residents (Rauch and Sharp, 2005), Michigan residents (Conner, et al. ,

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   A collection of findings from 23 surveys about consumer perceptions of farm animal welfare. by the Animal
Welfare Institute. (Pet. Ex. 13).
26
   Report from Gene Bauston, Farm Sanctuary to Rebecca Wittman, Zogby International on a telephone survey of
1.01 3 likely voters in the U.S. conducted by Zogby International January 5-9, 2007 (Pet. Ex. 18).
21
   Lusk. JL. Norwood, FB, Pricken. RW. 2007. Consumer preferences for farm animal welfare: results of a
nationwide telephone survey. Department of Agricultural Economics. Oklahoma State Universit}. Working Paper
(Pet. Ex. 73).
28
   Litwak, E. ( 1956). A Classitication of Biased Questions. American Journal ofSociology. 182- 186.
29
    Holbrook, A. L., Green, M. C., & Krosnick, J. A. (2003). Telephone versus face-to-face interviewing of national
probability samples with long questionnaires: Comparisons of respondent satisficing and social desirability response
bias. Public Opinion Quarterly, 67( I), 79-125.
10
    World Society for the Protection of Animals, 2009; The Humane Touch. 2007 from A collection of findings from
23 surveys about consumer perceptions of farm animal welfare, by the Animal Wei fare Institute (Pet. Ex. 13).
31
    Rauch and Sharp, 2004; Conner, et al., 2005; University of California, Santa Cruz. 2005; Rauch and Sharp, 2005
 from A collection of findings from 23 surveys about consumer perceptions of farm animal welfare, by the Animal
 Welfare Institute (Pet. Ex. 13).

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2005) ...central California shoppers" (University of California. Santa32Cruz, 2005) or were
conducted in other countries such as United Kingdom (Harper, 2002 ) and Australia (Rolfe,
199933). Thus, the results do not statistically reflect U.S. national opinions.

Doubts about the suitability of using contingent valuation results as a preference indicator     for
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policv decisions: Several studies referenced in the petition (Bennett and      Larson, 1996    ;
                            35
Bennett and Blaney, 2003 ) re ly on contingent valuation surveys. Contingent valuation is a
survey-bas ed method often used to place a monetary value on environmen tal goods36and services
not usually bought and sold in the marketplace, such as air pollution (Carson. 2000 ). The
extent that contingent valuation estimates can be used as a measure of individuals ' preference
toward an issue is debatable, particularly when a single issue is not presented in the context of
other issues. such as poverty, health care, food safety. and the environmen t. A review of recent
co ntin~e nt valuation research suggests that many results are biased and inconsistent (Hausman,
2012 3 ). In addition, social desirability is another factor that can limit the usefulness of
contingent valuation estimates as a measure of people's demand for a certain policy or course of
action. Under social desirability. people's responses to survey questions do not necessarily
represent their true opinions because they want to create a favorable impression of themselves
during the survey (Holbrook, Green and Krosnick. 2003).

2.        The Information Submilled Does Not Support the Proposed Labeling Requirements

You argue that factors such as consumers· ..demand for higher animal welfare standards" and
wiUingness ..to pay more for eggs from hens raised in what they perceive to be a ·humane'
manner" support the need for regulation (Pet. at 8, 9). As described above, there are significant
limitations concerning the information you submitted, rendering it insufficient to conclude there
is widespread or strong desire or demand for the type of labeling requirements you propose. In
addition, consumer preference alone does not constitute a material fact and is not a permissible
basis for FDA to require labeling. See International Dairy Foods Ass ' n v. Amestoy, 92 F.3d 67,
73 (2d Cir. 1996) (finding that consumer interest alone is not a sufficient governmen t interest on
which to compel labeling). Simi lar arguments regarding consumer interest were made and
rejected in Stauber and ABI. As the court stated in Stauber, ·'in the absence of evidence of a
material difference .... the use of consumer demand as the rationale for labeling would vio late
[the Act].'' 895 F. Supp. at 11 93. Similarly, in AB I the court noted plaintiffs· .. fail[ure] to
recognize that the determination that a product differs materially from the type of product it
purports to be is a factual predicate to the requirement of labeling. Only once materiality has

32
     Harper, GC. (2002). Consumer perception of organic food production and farm animal. British Food Journal,
 I 04,3: 287-299 (Pet. Ex. 55).
 13
    Rolfe, J. ( 1999). Ethical Rules and the Demand for Free Range Eggs, Economic Analysis and Policy 29,2 , 187-
206 (Pet. Ex. I 15).
3
  ~ Bennen. R. & Larson. D. (1996). Contingent Valuation of the Perceived Benefits of Farm Animal Welfare
Legislation: An Exploratory Survey, 47(2) Journal of Agricultural Economics 224 (Pet. Ex. 113) .
.IS Bennett, R.M. & Blaney, R.J.P. (2003). Estimating the Benefits of Farm Anima l Welfare Legislation
                                                                                                       Using the
Contingent Valuation Method. Journal ofAgricultural Economics 29, 85-98 (Pet. Ex. I 16).
36
    Carson, R. T. (2000). Contingent valuation: a user's guide. Em·ironmem al Science & Technology. 34(8), 141 3-
 1418.
17
    Hausman, J. (20 12). Contingent valuation: From Dubious to Hopeless. The Journal of Economic Perspectives,
 26(4 ), 43-56.

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been established may the FDA consider consumer opinion to determine whether a label is
required to disclose a material fact." 116 F. Supp. 2d at 179.

D.                    COMMENTS

FDA received and reviewed more than 6000 comments to the petition. All but approximately a
dozen expressed support for or were neutral on the petition. Of the comments supporting the
petition, the majority were nearly identical form letters which presented the opinions of the
writers, but did not provide any data (i.e., studies or research papers) or other information to
support the opinions. Similarly, the comments opposing the petition did not provide FDA with
any data that affected the agency' s position.

E.                    OTHER ARGUMENTS

1.                    A1aterialily of Production Method

You assert that " [p]reduction method claims such as hen caging conditions" are ·'especially
material" because they are ''difficult to verify by sensory perception at the time of purchase or
afterward" (Pet. at 17). You identify cage-free eggs as an example of a ''credence good"
because consumers cannot evaluate by looking at or eating an egg whether it was produced by a
free-range hen or by a hen confined in a cage. Although such information may not be readily
apparent to a consumer, this does not make it material. Similar logic would apply to other
circumstances where consumer interest was not a material fact. In Stauber, 895 F. Supp. at 1178,
consumers could not tell by looking at or consuming milk whether it was produced from cows
treated with rbST, but this information was not a material fact. Similarly, in ABI, 116 F. Supp.
2d at 166, consumers could not tell by looking at or consuming a food that it was rDNA-
produced, but this was not a materia] fact.

2.                    Other Labeling Requirements

In your petition you stated that FDA has promulgated food labeling requ irements in contexts
similar to the one discussed in the petition (Pet. at 55). To support this point, you cited
statements for dietary suppl ements (21 CFR 101.93) i.e., '·Structure/Function" claims and a
regulation concerning the term '"Fresh" (21 CFR 10 1.95). In contrast to the mandatory egg
production labeling you propose, the regulations you cite involve voluntary statements.
Manufacturers are not required to label foods with any type of nutrient content claim, health
claim or structure/function claim. Likewise, manufacturers are not required to label products as
··fTesh." Also, each of the claims you reference is specificall y related to a fact about the food
itsetf, rather than the means of production. As the ABl court noted, "td]isclosure of the
conditions or methods of manufacture has long been deemed unnecessary under the law." (citing
O.S. v. Ninety-Five Barrels (More or Less) Alle!:!ed Apple Cider Vinegar. 265 U.S. 438, 445
(1924) (·'When cons ide ·ed independently of the product, the method of manufacture is not
material. The [A.."Ict requires no disclosure concerning it.").




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F.      FDA'S ENFORCEMENT AUTHORITY

As a matter of law, FDA cannot require the labeling of shell eggs to include production methods
under21 U.S.C; § 32l(n'). The production method is not a material fact. Alliance for Bio-
ln'tegrrty v. Shalala, 116 F. Supp. 2d 166, 179 n. l 0 (D.D.C. 2000). As explained above, FDA has
considered the petition and its supporting exhibits and determined that the informatio n submitted
is insufficient to establish that, in all cases, based on production method alone. a difference ex ists
in either the nutritional properties or the associated Salmone lla risk between eggs from caged
hens and free-range hens that would warrant the proposed mandatory labeling requi rements. In
addition. consumer interest alone is not suffi cient to support your req uest.

Moreover, additional labeling requirements are not necessary for FDA enforcement. If
information on an egg label is false or mi sleading, as you assert some current labels are (Pet. at
11-16), FDA may bring an enforcement action under the misbranding provisions of the Act (2 1
U.S .C. 343 (a). 343(r), 33 1-334). You acknowledge this existing authority ( Pet. at 34. 44-50, 53-
54).

FDA determines whether to take enforcement action against misbranded food on a case-by-case
basis. For example, the agency recently issued a Warning Letter stating that products were
mi sbranded within the meaning of section 403(a)( I) of the Act because the term .. natural" was
used to describe a food that contains a synthetic ingredient. See Food and Drug Administration,
Nov. 16, 2011 Warning Letter to Alexia Foods, avai lable at
http://www.fda.gov/ ICEC I/EnforcementActions/ WarningLetters/ucm281118.hhn (last visited
Aug 7, 2013). FDA has also taken regulatory action against food manufacturers that make
unsubstantiated health claims about their food products. For example. on March 24, 2011. FDA
sent a Warning Letter for labeling claims stating that sprout products ·'may have desirable
effects. for example reduce the risk of breast cancer." See Food and Drug Administration, Mar.
24, 2011 Warning Letter to Jonathan 's Sprouts, lnc., avai lable at
http://www.fda.gov/ForConsumers/Consumer Updates/ucm248745.htm (last visited Aug 7,
20 13). Use ofthese unsubstantiated health claims rendered the sprout product misbranded under
section 403(r)( I)(B) of the Act.

In addition to Warni ng Letters, FDA recently sought and obtained a permanent injunction against
a juice manufacturer that distributed juice products that were misbranded under section 403(a).
United States v. Jonlly Fruits. Inc. et al., No. 13-cv-1 043 (Doc. o. 4) (D. P.R. Jan. 17, 20 13).
The manufacturer's juice was misbranded because it was labeled as .. natural," although it
contained artificial ingredients, and because it contained inaccurate nutrient content claims on its
labels such as '·light," .. 100% vitamin C." ·'Rich in Calcium," and .. No Sugar." United States v.
Jonlly Fruits, Inc. et al.. No. 13-cv-1 043 (Doc. No. I) (D.P.R. Jan. 15, 20 13). FDA has sought
and obtained injunctions against other firms that have distributed in interstate commerce
misbranded food bearing inaccurate nutrient content claims. See, e.g., United States v. Butterfl y
Bakery. lnc. et al. , No. 13-cv-669 (Doc. No.7) (D. N.J. Mar. 5, 20 13) (baked goods misbranded
because their labels inaccurately represented the amount of fat and sugar in the products); United
States v. Natural Ovens Bakery. Inc. , No. 06-cv-147 (Doc. No. 3) (E.D. Wis. Feb. 3, 2006)
(baked goods misbranded because they failed to declare the correct am ount of various nutrients,
including vitami n C, Zinc. Calcium , and Omega-3 fatty acids).

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G.       COMPETING AGENCY PRIORJTI ES

Finally, FDA appreciates your concern that egg labels not be false or misleading and your desire
for greater FDA action in this regard. However, even setting aside the legal and scientific
concerns discussed above, we deny your petition for the additional and independent reason that
the rulemaking you request is not the best use of the agency's limited resources.

United States consumers spend twenty-five cents of every consumer dollar on products regulated
by FDA, and, of this amount, approximately 75 percent is spent on foods. FDA regulates $4 I 7
billion worth of domestic food and $49 billion worth of imported foods. FDA's responsibility in
the food area covers nearly all domestic and imported food, including, in addition to shell eggs,
fruits and vegetables, seafood, grain products and pastas, cereal flours and related products,
acidified and low acid foods, infant formula, dietary supplements. dairy products, food and color
additives, bottled drinking water, juice, and other beverages. Tn addition, FDA regulates food
ingredients. packaging. and labeling. There are hundreds of thousands of domestic and foreign
regi stered food facilities and farms subject to FDA regulation .. ln addition to developing
regulations, FDA·s oversight ofthe food supply involves a wide range of activities, including
inspecting food faci lities, overseeing the safety of imported foods, responding to food borne
illness, developing guidance documents, and, where appropriate, seeking enforcement action.

FDA is currently engaged in an unprecedented number of novel and complex ruJemakings to
implement the FDA Food Safety Modernization Act of201 I ("FSMA"). As part ofFSMA
implementation, FDA is developing regulations to, among other things:

     •   establish science-based minimum standards for hazard analysis and risk-based preventive
         controls (21 U.S.C. § 350g(n)( I)):

     •   clarify the activities that are included as part of the definition of the term .. facility'' (21
         U.S.C. § 350d note);

         establ ish science-based, minimum standards for the safe production and harvesting of fruits
         and vegetables (2 1 U.S.C. § 350h);

         specify the content and requirements of foreign suppl ier verifications programs (21 U.S.C. §
         384a(c)):

     •   protect against intentional adulteration of food (2 1 U.S.C. § 350i(b)):

         establi sh san itary transportation practices for all persons engaged in transporting food (2 1
         U.S.C. § 350e(b) and note); and

     •   establish a new program involving the accreditation of third party auditors/certification
         bodies (2 1 U.S.C. § 384d(c)(5)(C)).




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In addition to FSMA rulemakings, FDA currently is engaged in numerous other rulemakings
including:

       •   Food Labeling; Revision of the Nutrition and Supplement Facts Labels (21 U.S.C. § 343);

           Food Labeling; Ca lorie Labeling of Articles of Food So ld in Vending Machines (21 U.S.C. §
           343) (required by the Patient Protection and Affordable Care Act of2010 (Affordable Care
           Act)~

       •   Food Labeling; Nutrition Labeling of Standard Menu Items in Restaurants and Similar Retail
           Food Establ ishments (2 1 U.S.C. § 343)(required by the Patient Protection and Affordable
           Care Act of20 10 (Affordable Care Act));

       •   Food Labeling: Serving Sizes of Foods That Can Reasonably Be Consumer in One Eating
           Occasion; Dual Co lumn Labeling; and Modifying the Reference Amounts Customarily
           Consumed (2 1 U.S.C. § 343);

       •   Infant Formula: Current Good Manufacturing Practices; Quality Control Procedures;
           Notification Requirements, and Records and Reports (21 U.S.C. § 350a);

       •   Use of Materials Derived From Cattle in Human Food and Cosmetics (21 U .S.C.
           342(a)(2)(C), (a)(3), (a)(4), (a)(5), 361(c), and 37l(a)).


Given the scope of FDA's responsibilities regarding the food supply, the agency must make
difficult choices regarding how to use its limited resources. For every rulemaking the agency
undertakes, there are many others it cannot. These other rulemakings are of lower priority and
are not undertaken for reasons that may include that they are not statutorily-mandated or that
they address less urgent public health and food safety problems. In light of the agency's many
competing priorities, and based on our careful consideration of the information you submitted,
we have determined that the rulemaking you requested is not a good use of agency resources.

III.       Conclusion

For each of the reasons discussed above, we conclude that your petition does not provide
sufficient grounds for the agency to revise the current labeling requirements for shell eggs to
provide for certain terms related to egg production methods and to require such labeling.
Therefore, FDA is denying your petition in accordance with 2 1 CFR 10.30(e)(3).




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If you have any questions regarding the labeling of eggs, please contact the Office of Nutrition,
Labeling, and Dietary Supplements at telephone number 240-402-23 7 1.

                                               Sincerely,



                                              1 /;Wttt! ;/f} J~
                                               Michael M. Landa
                                               Director
                                                Center for Food Safety
                                                  and Applied Nutrition




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                                                   APPENDIX

                                                List of References

   I.   See, e.g., Draft Guidance for Industry: Questions and Answers Regarding the Final Rule, Prevention of
        Salmonella Enteritidis in Shell Eggs During Production, Storage, and Transportation (Layers with Outdoor
        Access) (providing gu idance to egg producers on certain provisions in the egg rule concerning the
        management of production systems that provide laying hens with access to the outdoors), available at
        http://www. fda.gov/ Food/G uidance Regulation/G u idanceDocu mentsRegu latorv In format ion/ Eggs/ucm 3600
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   2.   See Guidance for Industry: A Food Labeling Guide (8. C laims) Question and Answers N21 and N22.

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    II. We note that you acknowledge that ''not all eggs that qualify as ·tree range' are the pastured eggs that were
        the subject of these studies .... " (Pet. at 28).

   12. 2 1 CFR 10l.9(c)(2)(i), (c)(3), and (c)(8)(ii).

   13. 21 CFR 101.9(c)(8)(ii)(B);21 CFR 101.13(i)(3).

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